        Case 2:24-mc-00043-JNW Document 6 Filed 07/17/24 Page 1 of 2




                    UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                           JUL 17 2024
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
Mr. KURT BENSHOOF,                               No. 24-4394

             Petitioner,
                                                 ORDER
 v.

WARDEN,

             Respondent.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

      A petition for writ of habeas corpus has been filed by “next friend” Tate

David Prows on behalf of Kurt Benshoof. Although the petition was filed under 28

U.S.C. § 2254, it is treated as a petition under 28 U.S.C. § 2241 because Benshoof

is a Washington state pretrial detainee, who has criminal charges pending in King

County Superior Court and Seattle Municipal Court. See Dominguez v. Kernan,

906 F.3d 1127, 1135 (9th Cir. 2018) (stating that “§ 2241 is available for

challenges by a state prisoner who is not in custody pursuant to a state court

judgment – for example, a defendant in pre-trial detention”).

      If a petition for writ of habeas corpus is filed in the court of appeals, “the

application must be transferred to the appropriate district court.”

Fed. R. App. P. 22(a); see 28 U.S.C. §§ 1631, 2241(b). Because Benshoof is

challenging his detention arising out of criminal proceedings in King County, the
           Case 2:24-mc-00043-JNW Document 6 Filed 07/17/24 Page 2 of 2




appropriate district court is the United States District Court for the Western District

of Washington. See 28 U.S.C. § 128(b); Braden v. 30th Judicial Circuit Court of

Kentucky, 410 U.S. 484, 495 (1973) (under § 2241, the court issuing the writ must

have jurisdiction over the custodian).

         Accordingly, the Clerk will transfer the petition filed at Docket Entry No. 1

to the United States District Court for the Western District of Washington. The

petition is deemed filed on July 17, 2024, the date on which it was filed with this

court. It is noted that a similar petition for writ of habeas corpus, filed by “next

friend” Benjamin Blanchard on behalf of Kurt Benshoof, is currently pending in

United States District Court for the Western District of Washington case number

2:24-mc-00043-JNW.

         This transfer order is issued without regard to whether Prows may file a

petition for writ of habeas corpus as “next friend” to Benshoof or whether the

claims have any merit.

         The Clerk will serve this order on Tate Prows and Kurt Benshoof c/o Kings

County Correctional Facility. The Clerk will also serve this order on the district

court.

         Upon transfer of the petition, the Clerk will close this original action.

         PETITION TRANSFERRED to the district court.




                                            2                                   24-4394
